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                    EXHIBIT 2
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c12)   United States Patent                                                         (IO) Patent No.:                  US 11,738,935 Bl
       Koenig et al.                                                                (45) Date of Patent:                          Aug. 29, 2023

(54)    EXPANDABLE PIZZA CONTAINER                                                     5,862.932 A •        l/1999 Walsh ...... ...... .... .. B65D 211086
                                                                                                                                                     220/666
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                                                                                                                                                     220/666
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( • ) Notice:        Subject to any disclaimer, the tcm1 of this                    11,325,753 82 •        5/2022 Johnson ............. B65D 43/0204
                     patent is extended or adjusted under 35                     2003/0015534 Al•           J/2003 Lown ................. 865D4310218
                     U.S.C. 154(b) by 0 days.                                                                                                        220/324
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(21)    Appl. No.: t7n27,683                                                     202110237933 Al•          8/2021 Swarts ................... B65D 21/08

(22)    Filed:        Apr. 22, 2022                                             • cited by examiner

(51)    Int. Cl.
        B65D 85/36                       (2006.01)                              Primary Examiner - Bryon P Gehman
(52)    U.S. Cl.                                                                (74) Attorney, Agent, or Firm··-- Mark S Hubert
        CPC ........ B65D 85/36 (2013.01 ): B65D 2585/366
                                                               (2013.01)
(58)    Field of Classification Search                                          (57)                         ABSTRACT
        CPC . 865D 6/00: B65D 6/18; 865D 43/02; B65D
                         43/0204: 865D 43/0222; B65D 81/26;                     An expandable triangular pizza storage container with a set
                    865D 81/261; 8650 85/36; 8650 85/54:                        of triangular trays for the st..i'aration, microwaving and
                                         B65D 2585/366: B65D 21/08              serving of individual slices of piZ7.a. The storage container
        USPC . ... .............. ................ 206/551: 220/666, 667        has a series of concentric triangular compartments that are
        St.-e application file for complete search history.                     expanded from a flexible polymer, accordion-style container
                                                                                body. The lid also has a triangular configuration with a
(56)                     Refel'l'nces Cited                                     replaceable compressible gasket, a set of four locking wings
                                                                                extending f mm each side that frictionally engage a rigid
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                                                                                triangular top ring of the container body, and a central vent.
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                                 FIG. 1
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                           FIG. 2
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                           FIG. 5




           FIG. 4

                                                   FIG. 3
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                          FIG. 8




       FIG. 7
                                                     FIG. 6
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                                 FIG. 9
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                                 FIG. 10
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         EXPANDABLE PIZZA CONTAINER                                    FIG. 1 is a perspective top view of the expanded pizza
                                                                    storage container with the lid in an unlocked configuration;
                COPYRIGHT STATEMENT                                    FIG. 2 is a perspective top view of the expanded piz:,.a
                                                                    storage container with the lid removed;
   A portion of the disclosure of this patent document 5               FIG. 3 is a lop view of the lid with the vent cap removed;
contains material that is subject to copyright protection. The         FIG. 4 is a top view of the tray;
copyright owner has no objection to the facsimile reproduc-            FIG. 5 is a top view of the vent cap;
tion by anyone of the patent document or the patent disclo-            FIG. 6 is a bottom view of the lid;
sure as it appears in the Patent and Trademark Office patent           FIG. 7 is a bottom view of the tray;
tile or records, but otherwise reserves all copyright rights
                                                                 10    FIG. 8 is a bottom view of the vent cap;
whatsoever.                                                            FIG. 9 is a perspective top view of the collapsed pizza
                                                                    storage container:
                            FJELD                                      FIG. 10 is a top view of a collapsed pizza storage
                                                                    container;
                                                                 15    FIG. 11 is a cross sectional view of the container body's
    The present disclosure relates, in general, to food Stl)rage
                                                                    seal ring: and
technology, and more particularly to an expandable, multi-
                                                                       FIG.12 is a cross sectional view of the bulbous extension.
s1ice pizw storage container.
                                                                           DETAILED DESCRIPTION OF CERTAIN
                      BACKGROUND                                :?0                      EMBODIMENTS
   Piu.a is one of the staples of the American diet. The              While various aspects and features of certain embodi-
dmwback is that pizza from restaur.mts and to-go pizza             ments have been summarized above. the following detailed
parlors. genemlly don't come in single serving portions.           description illustrates a few exemplary embodiments in
Rather, they come sliced in whole pies, enough to feed four 25 further detail to enable one skilled in the art to practice such
or more people. 'l11is causes a dilemma when a pizza pie is        embodiments. Reference will now be made in detail to
ordered for less than four people. This causes the leftovers       embodiments of the inventive concept, examples of which
to be individually wrc1pped or put into multiple storage           are illustrated in the accompanying drdwings. The accom-
containers. lbis takes wmecessary space in the refrigerator        panying drawings are not necessarily dmwn to scale. 1be
since pizza slices are generally triangular and conventional 30 described examples are provided for illustrative purposes
refrigerator storage containers are square or round. Regard-       and are not intended to limit the scope of the invention. It
less, tlu..-y must be microwaved individually on another plate~    should he understood, however, that persons having ordi-
and both the plate and container must be washed.                   nary skill in the art may practice the inventive concept
   Henceforth. a dedicated pizza storage container that was        without these specific details.
adapted for the storage and reheating of multiple slices of 35        It will be understood that, although the terms first, second,
pizza pie would fulfill a long folt need in food storage           etc. may be used herein to describe various elements, these
industry. 'Ibis new invention utilizes and combines known          elements should not be limited by these terms. ·niese terms
and new technologies in a unique and novel configuration to        are only used to distinguish one element from another. For
overcome the aforementioned problems and accomplish                example, a first attachment could be tem1ed a second attach-
this.                                                           40 ment, and, similarly, a second attachment could be tem1ed a
                                                                   first attachment, without departing from the scope of the
                       BRIEF SUMMARY                               inventive concept.
                                                                      It will be understood that when an element or layer is
   In accordance with various embodiments, an expandable,          referred to as being "on," "coupled to." or ·•connected to"
triangular, multi-slice pi7.7_.a storage container is provided. 45 another element or layer, it can be directly on, directly
   In one aspect, a piz:,.a container with triangular trays for    coupled to or directly connected to the other clement or
use in the separation of piZ2J1 slices lo be stored, as weU as     layer, or intervening elements or layers may be present. In
for use as an individual pi7..7..a slice microwaveable and         contrast. when an element is referred to as being "directly
serving trny is provided.                                          on," "directly coupled to," or "directly connected to"
   In another aspect, a triangular expandable. multi-level 50 another element or layer, there are no intervt.'lling elements
piZ7..a storage container with a vented, lockable lid is pro-      or layers present. Like numbers refer to like elements
vided.                                                             throughout. As used herein. the term "and/or" includes any
   'various modifications and additions can be made to the         and all combinations of one or more of the associated listed
embodiments discussed without departing from the scope of          items.
the invention. For example, while the embodiments 55                  As used in the description of the inventive concept and the
described above refer to particular features. the scope of this    appended claims, the singular forms "a:• "an," and "the., are
invention also includes embodiments having different com-          intended to include the plural forms as well, unless the
bination of features and embodiments that do not include all       context clearly indicates otherwise. It will also be under-
of the above described foatures.                                   stood that the term ..and/or" as used herein refers to and
                                                                60 encompasses any and all possible combinations of one or
        BRIEF DESCRIPTION OF THE DRAWINGS                          more of the associated listed items. It will be further
                                                                   understood that the terms ..comprises" and/or "comprising,"
   A further understanding of the nature and advantages of         when used in this specification. specify the presence of
particular embodiments may be realized by reference to the         stated features. integers. steps, operations, elements, and/or
remaining portions of the specification and the drawings, in 65 components, but do not preclude the presence or addition of
which like reference numerals are used to refer to similar         one or more other features. integers, steps, operations,
components.                                                        elements, components, and/or groups thereof.
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                              3                                                                    4
    Unless otherwise indicated, all numbers herein used to         extends perpendicularly downward from the bottom face of
express quantities, dimensions, and so forth, should be            the lid 4, tracing the same generally triangular configuration
understood as being modified in all instances by the tenn          as the lid 4 and the container body 6. When the lid 4 is fitted
"about." In this application, the use of the singular includes     onto the container body 6, the inner lid flange SO abuts the
the plural unless specifically stated otherwise., and use of the s seal ring 17 and aligns the lid 4 and the container body 6 so
tenns "and.. and "or.. means "and/or" unless otherwise             that the compressible gasket 30 is properly seated onto the
indicated. Moreover. the use of the tenn ..including,.. as well    planar top face of the seal ring 17 prior to compression.
as other fonns. such as "includes" and "included,•• should be          The vent cap 52 (FIG. 5) is a flexible triangular flap sized
considered non-exclusive. Also, tenns such as "element" or         to fit within the triangular depression 38 on the lid 4. Its
"component" encompass both elements and components 10 bottom face 54 has a bulbous extension S6 extending
comprising one unit and elements and components that               therefrom that is compressible and pliable, and sized slightly
comprise more than one unit, unless specifically stated            larger than the orifice 40. (FIG. 8) With the application of
otherwise.                                                         side to side and downward pressure on the top face of the
    As used herein, the tcnn "bulbous" refers to s shape that      vent cap 52 the bulbous extension 56 wilJ pass through the
resembles a light bulb with a generally spherical end top end 15 orifice 40 and retain the triangular vent cap 52 in the
that is necked down in diameter at its other end.                  triangular depression 38. Since the extension 56 has a
    As used herein the tenn "generally triangular shape"           bulbous configuration, the neck 55 has a diameter less than
refers to a geometric configuration of a triangle with             the diameter of the orifice 40. (See FIG. 12) This narrower
rounded corners.                                                   neck of the extension, being smaller than the orifice 40.
    The present invention relates to a novel design for a :?O allows the vent cap to rise in the depression 38 as needed to
vertically expandable triangular, pizza storage container          allow pressurized air from the sealed container to escape.
with a vented lockable lid and separation/serving trays that       Gravity and the frictional forces of the taper of the neck 55
are microwaveable.                                                 the extension 56 causes the vent cap 52 to close when the
    Looking at FIGS. 1 and 2 the expandable pizza container        pressurized air has been vented.
2 (..container") can be seen in its expanded configuration 25          Looking at FIGS. 4 and 7 the microwave safe trays 60 can
with and without the lid 4 on the container body 6. The body       best be seen. These trays 60 also share the same generally
6 has a generally triangular shape with rounded comers 8. It       triangular configuration as the container body 6 and lid 4,
is made of a flexible polymer and its three sides 16 are pleat     although dimensionally it is slightly smaller than the con-
folded in the style of an accordion so as to form an upper         tainer body's bottom face 14 so a tray 60 may he used on
pleat t Oand a lower pleat 12. Although in alternate embodi- JO even the lowest of pizw slices in the container 6. 'lbe trays
ments. there may be more or less pleats. When the container        60 have a planar top face 62 and a peripheral lip 64
body 6 is collapsed (FIGS. 9 and t 0) these two pleats are         extending around the tray 60. This holds the slice of pi12a on
concentrically nested in the same plane. These two pleats          the tray 60 as well as any oils that drip from the pizza during
allow the container body 6 to have five concentric vertical        the microwave process. On one side of the tray 60, there is
levels of pizza storage when the container body 6 is 35 a raised finger tab 66 for lifting the tray 60 and its slice of
expanded. The container body 6 has a planar, unadorned             pizza. The bottom face 68 of the tray 60 has a grid of raised
bottom face.                                                       bars 70 extending perpendicularly therefrom. This mini-
    lbe top peripheral edge of the container body 6 has a rigid    mizes the contact that the bottom of each tray 60 will have
polymer seal ring 17 bonded to the top of the flexible sides       with the top of the slice of pizza that the tray is put on. This
16. In the seal ring's cross section view (FIG. 11) it can be 40 minimizes the transfer of oils and greases from the slice of
seen that it is a solid generally triangular ring. with a planar   pizza to the bottom face 68 of the tray 60 and also prevents
top face 20 having an inner raised lip 22, and planar bottom       the stacked pizza slices from sticking together.
face 24 having an outer raised lip 26. The top face 20 serves          The expandable pizza container is used to store (refrig-
as a surface for the compression of the removeable, com-           erate) multiple slices of pi21..a stacked atop each other and
pressible gasket 30 housed in the gasket groove 32 of the lid 45 separated by triangular trays that serve to prevent the pizza
4. (FIG. 6). The outer raised lip 26 acts to frictionally secure   slices from sticking together, to provide a drip tray to collect
the lock tabs 34 of the locking wings 36 extending from the         oils and greases when microwaved, and to act as a serving
lid 4 and ensures the Jid 4 stays on and the gasket 30 stays        tray for single slices. The container has a vented lid with a
compressed guaranteeing freshness of the container's con-           series of locking tabs-one per container side.
~L                                                               ~     In use, the lid is removed, and the bottom of the container
    Looking at FIGS. 3 and 6, the lid 4 can best be described.     pressed downward to expand the accordion nestled concen-
'fbe lid 4 also has a generally triangular shape and a planar       tric triangular compartments. Slices of piZ7..a are layered into
top face 29 with an orifice 40 formed in a triangular               the container from the bottom up, separated by the insertion
 depression 38 thereon. The lid 4 is made of a rigid, trans-        of triangular, microwaveable trays (planar side up) between
 parent polymer and has a series of four hinged Jocking wings 55 the piz:za slices. When all slices are inside, the container lid
36 extending from the sides of the lid 4. Each locking wing         is pressed into place ensuring that the lid's flexible gasket is
36 bus a top face 42 and a bottom face 44 with at least one         compressed on the container's rigid top seal ring and the
T shaped lock tab 34 projecting perpendicularly from its            vent cap is free. TI1e four side locking wings are rotated from
 bottom face 44. The hinges 45 are merely extensions of the         a horiz.ontal to a vertical position until the gasket is com-
 locking wings 36 onto the lid's outer periphery 47. ·111ese 60 pressed and the lock tabs on the locking wings are friction-
 hinges 4S do not extend the full length of the locking wings       ally captured beneath the lock tabs on the sides of the
 36 as there are through slots 46 used to minimize the amount       container. The bottom of the container is gently pressed
 of material in the hinge 45 for flexibility purposes.              upward and the nestled concentric triangular compartments
    1be lid 4 has a compressible polymer gasket 30 that is          are collapsed until the top slice of piz7.a is in close proximity
 frictionally housed in the generally triangular gasket groove 65 to the lid. When this compartment collapse is undertaken,
 32 that runs around the outer edge of the lid 4. The gasket        the vent cap will lift up slightly to allow the compressed air
groove 32 is formed adjacent an inner lid flange SO that            to escape, helping ensure freshness.
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    When an individual slice of pizza is d<.'Sired the lid's             whe.r:ein said ~id rcsidt.'S upon said container body with
locking wings arc rotated to an upward, horizon~ position                   said gasket m contact with said seal ring, and said tray
to release the lid from its frictional engagement with the                  resides within said container body.
container·s lock tabs, and decompress the compressible                   2. '111e expandable pizza storc1ge container of claim 1
gasket. The lid is removed. The tray under the top slice of           further comprising:                                           '
riz:z.a w~th the slice of piz7.ll thereon is removed and placed          a vent cap operationally installed for upward and down-
m the microwave. Once heated the tray and slice of pi:z.za are              ward motion in an orifice formed in a depression
removed from the microwave and served as a unit. The                        formed on said lid;
                                                                         a seri~s of four hinged Jocking wings extending from said
above procedure is repeated to further collapse, vent and seal
                                                                            periphery edge of said lid, said locking wings having
the container, and the container is again ready for storage. 10
                                                                            T-shapcd lock tabs extending perpendicularly from a
    While certain features and aspects have been described                  Jower face of said Jocking wings;
with respect to exemplary embodiments, one skilled in the                whe~in said seal ring is a solid generally triangular ring,
art will recognize that numerous modifications are possible.                with a planar top face having an inner raised lip, and a
Consequently, this detailed description and accompanying                    planar bottom face having an outer raised lip·
material is intended to be illustrative only, and should not be 1s       wherein said locking wings are pivotally engag~ about
taken as limiting the scope of the inventive concept. What is               said seal ring and said lock tabs engage around said
claimed as the invention, therefore, is an     such modifications           outer raised lip so as to compress said gasket on said
as may come within the scope and spirit of the following                    planar top face of said seal ring.
claims and equivalents thereto.                                          3. The expandable pi7..7..a storage container of claim 2
                                                                  :?O further comprising:                                           '
    Having thus described the invention, what is claimed as              an inner lid flange adjacent to said gasket groove and
new and desired to be secured by Letters Patent is as                       extending perpendicularly downward from said bottom
                                                                             si?e of said lid ((4)), said inner lid tlange having a
follows:
                                                                             shghtly smaller generally triangular configuration as
    1. An expandable pizz.a storage container, comprising:
                                                                             said inner raised lip of said seal ring, so as to enable
    a flexible, generally triangular container body having 25
       three sides joined at rounded comers, and a planar                    proper orientation of said lid onto said seal ring.
                                                                         4. TI1e expandable pizza stomge container of claim J,
       bottom face extending perpendicularly from a bottom
                                                                      further comprising:
       edge of said sides. wherein said sides are pleat folded
                                                                         a grid of raised bars extending perpendicularly from a
       so as to fonn an upper pleat and a lower pleat that are
                                                                   JO        bottom face of said tray.
       concentrically nested;
                                                                          5. The expandable pizza storage container of claim 4
    a rigid seal ring bonded to a top edge of said sides;
                                                                      wherein said vent cap has a triangular shape. a top vent face,
    a rigid, genemlly triangular, planar lid with a gasket
                                                                      a bottom vent face and a flexible. compressible bulbous
       groove formed about a periphery edge of a bottom side
                                                                      extension sized for frictional engagement with said orifice.
       of said lid:
                                                                          6. The expandable pizza storage container of claim 5
    a compressible. rcmoveable gasket frictionally retained 35
                                                                      wherein there are five concentric vertical levels of pizza
       within said gasket groove;
                                                                       storage formed therein when said container body is
    a microwave safe triangular tray with a peripheral lip
                                                                       expanded.
       formed there about a tray top face and a finger tab
       extending from said triangular tray;                                                    * *
